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                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA



 In re:
                                                                    Chapter 11
                                      1
 BLACKJEWEL, L.L.C., et al.,
                                                                    Case No. 19-30289
                                     Debtors.                       (jointly administered)


 THE BLACKJEWEL
 LIQUIDATION TRUST.

                                    Plaintiffs,                     Adv. No. 20-03007

 v.

 UNITED BANK,

                                    Defendant.


     EXPEDITED MOTION OF NONPARTIES PATRICIA HOOPS, BRENT WALLS, AND
      JEFFERY A. HOOPS TO QUASH OR, ALTERNATIVELY, MODIFY DEPOSITION
                                SUBPOENAS

          Nonparties Tricia Hoops, Brent Walls, and Jeffery A. Hoops, Sr. (collectively, the

 “Nonparties”) file this expedited motion to quash or, alternatively, modify subpoenas. In support

 thereof, Nonparties respectfully state as follows:

                                                   SUMMARY

          Defendant United Bank (“United”) seeks to depose each of the Nonparties. Nonparties

 agreed to be deposed and, in consultation with the parties in this case, on a schedule for their



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  The Debtors in these jointly administered chapter 11 cases, together with the last four digits of their Taxpayer
 Identification Numbers, are: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation Energy
 Holdings, LLC (8795); Revelation Management Corp. (8908); Revelation Energy, LLC (4605); Dominion Coal
 Corp. (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal Corp. (2785); Lone Mountain Processing, LLC
 (0457); Powell Mountain Energy, LLC (1024); and Cumberland River Coal LLC (2213).

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 depositions. Nonparties made one request: that the depositions take place remotely over video or,

 alternatively, in person at the office of their lawyers. United refused either option. Now, United

 has served, or is believed to be in the process of serving, subpoenas to require Nonparties to appear

 in person at United’s counsel’s office. As explained herein, these subpoenas are unduly

 burdensome and otherwise deficient. Furthermore, United has itself not yet complied with a

 subpoena served on United, related to another adversary proceeding involving some of the same

 issues at stake in the instant case, even though that subpoena was served in June 2021. For these

 reasons, Nonparties request that this Court quash the subpoenas or, at least, order that they be taken

 either virtually or in person in Richmond, Virginia, where the Nonparties will be physically located

 during the week of October 11. In nearly two years of the global COVID-19 pandemic,

 undersigned counsel has conducted dozens of remote depositions in multiple cases pending all

 over the country, and United’s intransigent position demanding an in-person deposition at a

 location of their choosing (of nonparties, at that) is a first. Because the depositions sought would

 take place the week of October 11, 2021, Nonparties request that this Court rule on this motion on

 an expedited basis.

                                          BACKGROUND

        Plaintiffs initiated the instant lawsuit on June 1, 2020. (Dkt. No. 1.) Under the current

 scheduling order, discovery is set to close on October 29, 2021. (Dkt No. 75.) On August 31, 2021,

 counsel for United reached out regarding the depositions of Nonparties.

        Regarding the Nonparties, Jeffery A. Hoops was, among other things, the CEO of

 Blackjewel and is the named defendant in a number of other adversary proceedings including Adv.

 No. 20-03008 (the “Clearwater AP.”). Patricia Hoops is the wife of Jeffery A. Hoops. Brent Walls




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 is an accountant and officer of Clearwater. Neither Patricia Hoops nor Brent Walls is a named

 party in any litigation related to the Blackjewel bankruptcy.

        On September 22, 2021, a joint call was held to discuss deposition scheduling and other

 issues related to United’s request to depose Nonparties. The parties tentatively agreed on a

 schedule for the Nonparties depositions with Patricia Hoops to be deposed on October 12, 2021,

 Brent Walls to be deposed on October 13, 2021, and Jeffrey A. Hoops to be deposed on October

 15, 2021.

        However, several important issues remained open. First, although United indicated it

 wanted to do the depositions in person in Charleston, counsel for Nonparties explained they needed

 to confer with their clients on that issue and that they might prefer to proceed virtually. Among

 other reasons, Jeffrey and Patricia Hoops regularly reside far from Charleston, including in Florida.

 Second, counsel for Nonparties, which also represents Jeffery A. Hoops and another Defendant,

 Clearwater Investment Holdings, LLC, in the Clearwater AP, raised the issue of United’s response

 to a subpoena for document production (the “United Bank Subpoena”) which Mr. Hoops and the

 other defendant in the Clearwater AP had served on United. United has taken the position that the

 documents it will be producing to the debtors in this case entirely overlap with that document

 subpoena, and, thus, United’s failure to complete its production to undersigned counsel impedes

 our ability to adequately prepare for the depositions United is demanding.

        Defendants in the Clearwater AP served the United Bank Subpoena on United on June 25,

 2021—over two months before United first approached Nonparties regarding their depositions.

 (See ECF No. 62 in Clearwater AP.) United has not yet completed the production of information

 responsive to that Subpoena. Counsel for Nonparties explained to United’s counsel that United’s




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 production should be completed prior to any deposition of Nonparties with enough time for

 Nonparties’ counsel to review those documents before any depositions take place.

        On September 30, 2021, United made another production in response to the United Bank

 Subpoena. At the same time, United (1) indicated it did “not have a firm timeline for completion

 of our review and production” of the rest of the material responsive to the United Bank Subpoena

 and (2) served deposition notices for Nonparties for the dates previously discussed but with the

 depositions to take place at United’s counsel’s office in Charleston. After conferring with

 Nonparties, counsel for Nonparties responded that the Nonparties would be available for

 deposition on those dates if the deposition could be conducted remotely. Alternatively, they were

 available to be deposed in Richmond, Virginia. However, United has refused to conduct the

 deposition of Nonparties using any method except in person and in any place but their office in

 Charleston. Nor has United completed its production in response to the United Bank Subpoena.

        On October 5, 2021, United served Brent Walls with a deposition subpoena commanding

 his deposition to take place on October 13, 2021 at United’s counsel’s offices. See Brent Walls

 Subpoena, attached as Exhibit A. United has not yet served Jeffery or Patricia Hoops with any

 subpoena.

                                          ARGUMENT

        In light of United’s unreasonable “my way or the highway” approach to taking the

 depositions of Nonparties, good cause exists to quash or, alternatively, modify any subpoena

 directed to Nonparties. “A party or attorney responsible for issuing and serving a subpoena must

 take reasonable steps to avoid imposing undue burden or expense on a person subject to the




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 subpoena.” Fed. R. Civ. P. 45(d)(1). 2 Accordingly, on a timely motion, a court “must quash or

 modify a subpoena that . . . subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(iv).

         In this case, Nonparties request that this Court order that any deposition of Nonparties be

 taken by remote means. Since the emergence of the COVID-19 pandemic, courts have routinely

 granted similar requests that depositions be taken remotely. See, e.g., United States v. $110,000 in

 United States Currency, 2021 WL 2376019, at *3 (N.D. Ill. June 10, 2021) (“[F]or the health and

 safety of the parties, the Court will not require the Government attorneys from Nebraska to travel

 to Chicago when substantially the same result is available digitally.”); Mosiman v. C & E

 Excavating, Inc., 2021 WL 1100597, at *2 (N.D. Ind. Mar. 23, 2021) (“Overall, the twin aims of

 preventing the spread of the virus and protecting the health and safety of all involved provide good

 cause to hold the deposition remotely.”); In re Newbrook Shipping Corp., 498 F. Supp. 3d 807,

 815 n.1 (D. Md. 2020) (“Zoom depositions have become a convention in this district during the

 ongoing COVID-19 pandemic, and they are appropriate in the circumstances of this case.”);

 Learning Res., Inc. v. Playgo Toys Enterprises Ltd., 335 F.R.D. 536, 538–39 (N.D. Ill. 2020)

 (“[T]he Court finds that the health concerns created by the COVID-19 pandemic create ‘good

 cause’ for the entry of an order requiring that Ms. Latham’s deposition take place by remote

 videoconference under the circumstances in this case.”); Yoon v. Lee, 2020 WL 2946053, at *5

 (C.D. Cal. June 3, 2020) (“[I]t appears somewhat unreasonable for Defendants to continue to insist

 on Plaintiff traveling to Los Angeles to appear for a deposition, particularly in light of other

 possible alternatives to an ‘in-person’ deposition such as a remote deposition by

 videoconference.”); Wilkens v. ValueHealth, LLC, 2020 WL 2496001, at *2 (D. Kan. May 14,




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  Federal Rule of Civil Procedure 45 has been made applicable in bankruptcy cases by Federal Rule of Bankruptcy
 Procedure 9016.

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 2020) (“Video or teleconference depositions and preparation are the ‘new normal’ and most likely

 will be for some time.”).

          Consistent with these precautions, this Court has itself entered an order stating that

 circumstances “provide[] good cause in compelling circumstances to allow evidentiary hearings

 in these jointly administered cases to be conducted remotely using audio and video conferencing

 solutions.” (See ECF No. 2419 in Case 3:19-BK-30289 at 1-2 (stating also that “all hearings shall

 take place using the telephonic and videoconferencing solutions.”).) Nonparties submit that the

 same safety precaution of allowing for remote hearings before this Court should be extended to

 those, like Nonparties, called upon to testify in depositions with respect to this proceeding. 3

          Furthermore, the burden and costs to Nonparties will be lessened if the deposition is taken

 by remote means because nonparties were not planning to be in West Virginia at the time of their

 depositions. As explained above, Nonparties have alternatively offered to have their depositions

 taken at the office of their counsel in Richmond, Virginia, which would likewise reduce the burden

 and cost to Nonparties, and where Nonparties will have greater control over social distancing and

 other safety procedures. United is affirmatively obligated under Rule 45 to minimize the burden

 to the Nonparties in complying with subpoenas, and the Nonparties have determined that it is not

 only safer but also the most cost-effective means of complying to conduct the depositions in the

 office of their counsel in Richmond, Virginia, as the cost of the Nonparties’ travel to Richmond is

 far less than the legal fees and expenses they would incur by sending their counsel to West




 3
   Further, it is difficult to imagine how United could claim to be prejudiced by taking a deposition remotely. See, e.g.,
 United States ex rel. Adams v. Remain at Home Senior Care, LLC, No. 1:17-CV-01493-JMC, 2021 WL 856876, at
 *1–2 (D.S.C. Mar. 8, 2021) (“Next, Defendants have not shown prejudice. Although they point to ‘difficulties’ and
 technical issues that occurred during prior remote depositions and may occur in future remote depositions, including
 Zoom fatigue, the purported complexity of this case, and the numerosity of documents used during the deposition,
 such problems appear to be relatively routine and do not necessarily amount to prejudice.”).

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 Virginia. In addition, one of the undersigned counsel who will be actively defending one (or more)

 of the depositions is unable to travel to West Virginia next week as a result of other engagements.

          Other issues exist with respect to any attempt to compel Nonparties to attend a deposition

 the week of October 11, 2021. Jeffery Hoops and Patricia Hoops have not been served with any

 subpoena. And, although Brent Walls was served, his subpoena was not accompanied by the

 requisite witness fees. See Exhibit A. As such it is unenforceable and should be quashed. See Fed.

 R. Civ. P. 45(b)(1); see, e.g., In re Dennis, 330 F.3d 696, 704–05 (5th Cir. 2003) (affirming

 quashing of deposition subpoena and stating that “a court does not abuse its discretion by quashing

 a subpoena where the subpoenaing party tendered no mileage allowance whatsoever with the

 subpoena.”). Furthermore, it would be an undue burden to require Nonparties to appear for a

 deposition pursuant to subpoenas served the week prior to their deposition (and without regard for

 their preference for location or method of deposition) while, meanwhile, United has not completed

 a production of documents responsive to the United Bank Subpoena served months earlier, in June,

 2021. This is especially true to the extent that the information requested in the United Bank

 Subpoena overlaps with the topics that United intends to question Nonparties concerning.

          Having said the preceding, Nonparties do not intend to raise form over substance with

 respect to the subpoenas. Therefore, they are willing to appear for deposition on the dates United

 requested provided the depositions take place in a manner or at a location that maximizes the safety

 of—and reduces the burden and costs to—Nonparties. 4 Absent this reasonable accommodation,

 however, the subpoenas to Nonparties should be quashed.




 4
  Nonparties, of course, reserve the right to object to any questioning or exhibits related to information sought in the
 United Bank Subpoena which have not yet been produced.

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                       REQUEST FOR EXPEDITED CONSIDERATION

        Nonparties request that this Court set a hearing on this motion on or before October 8,

 2021, or otherwise rule on this motion on an expedited basis. Expedited relief is appropriate based

 on the dates for the depositions sought by United—the first of which is October 13, 2021—and

 the issues discussed above.

                                           CONCLUSION

        Nonparties respectfully request that this Court consider this motion on an expedited basis,

 order that the subpoenas to the Nonparties be quashed, order that any deposition of Nonparties

 proceed remotely or, alternatively, at the offices of Nonparties’ counsel, and grant to Nonparties

 all other relief to which they may be entitled.



 Dated: October 6, 2021                            Respectfully Submitted,
        Richmond, Virginia


                                                   MCGUIREWOODS LLP

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                                               and Jeffery A. Hoops, Sr.


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 6th day of October 2021, a true and correct

 copy of the foregoing motion was served via the Court’s electronic case filing system (CM/ECF)

 to all parties registered to receive such notice in the above-captioned proceeding.


                                               /s/ K. Elizabeth Sieg__________________
                                               K. Elizabeth Sieg




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